B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                   Northern District of California                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Niduaza, Rizalino B.                                                                                     Niduaza, Maria Dolores


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):
                                                                                                           AKA Maria Dolores Marquez



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  xxx-xx-7651                                                                                              xxx-xx-8596
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  1124 Cobblestone St                                                                                      1124 Cobblestone St
  Salinas, CA                                                                                              Salinas, CA
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     93905                                                                                        93905
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  Monterey                                                                                                 Monterey
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):
  P.O. Box 3812                                                                                            P.O. Box 3812
  Salinas, CA                                                                                              Salinas, CA
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     93912                                                                                        93912
Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                              THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
               Case: 09-61060                         Doc# 1           Filed: 12/17/09                     Entered: 12/17/09 13:39:22                              Page 1 of 57
B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Niduaza, Rizalino B.
(This page must be completed and filed in every case)                                   Niduaza, Maria Dolores
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Clark A. Miller                               December 17, 2009
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Clark A. Miller 51151

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
              Case: 09-61060                 Doc# 1            Filed: 12/17/09          Entered: 12/17/09 13:39:22                             Page 2 of 57
B1 (Official Form 1)(1/08)                                                                                                                                              Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Niduaza, Rizalino B.
(This page must be completed and filed in every case)                                       Niduaza, Maria Dolores
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Rizalino B. Niduaza                                                              X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Rizalino B. Niduaza

 X    /s/ Maria Dolores Niduaza                                                                Printed Name of Foreign Representative
     Signature of Joint Debtor Maria Dolores Niduaza
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     December 17, 2009
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Clark A. Miller
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Clark A. Miller 51151                                                                    debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Law Offices Of Clark A. Miller
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      217 West Alisal Street
      Salinas, CA 93901                                                                        Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                            Email: sherri@clarkmiller.com
      1-831-424-1764 Fax: 1-831-424-2144
     Telephone Number
     December 17, 2009
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
             Case: 09-61060                   Doc# 1           Filed: 12/17/09             Entered: 12/17/09 13:39:22                         Page 3 of 57
B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                        Northern District of California
             Rizalino B. Niduaza
 In re       Maria Dolores Niduaza                                                                         Case No.
                                                                                       Debtor(s)           Chapter     13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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            Case: 09-61060                      Doc# 1             Filed: 12/17/09        Entered: 12/17/09 13:39:22        Page 4 of 57
B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                          Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:           /s/ Rizalino B. Niduaza
                                                                                         Rizalino B. Niduaza
                                                          Date:           December 17, 2009




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              Case: 09-61060                         Doc# 1              Filed: 12/17/09      Entered: 12/17/09 13:39:22   Page 5 of 57
B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                        Northern District of California
             Rizalino B. Niduaza
 In re       Maria Dolores Niduaza                                                                         Case No.
                                                                                       Debtor(s)           Chapter     13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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            Case: 09-61060                      Doc# 1             Filed: 12/17/09        Entered: 12/17/09 13:39:22        Page 6 of 57
B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                          Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:          /s/ Maria Dolores Niduaza
                                                                                        Maria Dolores Niduaza
                                                          Date:           December 17, 2009




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              Case: 09-61060                         Doc# 1              Filed: 12/17/09      Entered: 12/17/09 13:39:22   Page 7 of 57
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                         Northern District of California
  In re          Rizalino B. Niduaza,                                                                                 Case No.
                 Maria Dolores Niduaza
                                                                                                                ,
                                                                                               Debtors                Chapter                        13




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                LIABILITIES                 OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  200,000.00


B - Personal Property                                             Yes                 4                   77,128.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 3                                         639,280.43


E - Creditors Holding Unsecured                                   Yes                 1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 11                                         63,426.60
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 2                                                                     5,026.22
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                     4,765.94
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            27


                                                                                Total Assets             277,128.00


                                                                                                 Total Liabilities              702,707.03




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                                                                                                 Entered: 12/17/09 13:39:22            Page 8 ofBest57
                                                                                                                                                     Case Bankruptcy
Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                         Northern District of California
  In re           Rizalino B. Niduaza,                                                                                 Case No.
                  Maria Dolores Niduaza
                                                                                                            ,
                                                                                         Debtors                       Chapter                  13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                    Amount

              Domestic Support Obligations (from Schedule E)                                                        0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                    0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                    0.00

              Student Loan Obligations (from Schedule F)                                                    14,414.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                    0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                    0.00

                                                                                 TOTAL                      14,414.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                         5,026.22

              Average Expenses (from Schedule J, Line 18)                                                       4,765.94

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                          8,646.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                       9,330.69

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                    0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                            0.00

              4. Total from Schedule F                                                                                                63,426.60

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                            72,757.29




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                                                                                                                                                Case Bankruptcy
B6A (Official Form 6A) (12/07)


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 In re        Rizalino B. Niduaza,                                                                        Case No.
              Maria Dolores Niduaza
                                                                                                ,
                                                                                Debtors
                                                  SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                    Nature of Debtor's          Wife,     Debtor's Interest in              Amount of
              Description and Location of Property                  Interest in Property        Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

Former residence at 588 Inca Way, Salinas,                         Fee subject to two trust J                          200,000.00                608,389.30
Monterey County, CA 93906. TO BE                                   deeds plus back property
SURRENDERED.                                                       taxes.




                                                                                                 Sub-Total >          200,000.00           (Total of this page)

                                                                                                      Total >         200,000.00
 0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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  In re          Rizalino B. Niduaza,                                                                                   Case No.
                 Maria Dolores Niduaza
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              Cash on hand                                                      -                          20.00

2.     Checking, savings or other financial                      Checking and savings, Bank of America, Salinas,                   C                           3.00
       accounts, certificates of deposit, or                     CA
       shares in banks, savings and loan,
       thrift, building and loan, and                            Checking and savings, Navy Federal Credit Union,                  C                          20.00
       homestead associations, or credit                         Monterey, CA
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Household furniture, furnishings, and appliances                  C                       2,000.00
       including audio, video, and
       computer equipment.                                       Desktop computer, washing machine, both purch.                    C                         300.00
                                                                 1+ year agol

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          Personal clothing                                                 C                         500.00

7.     Furs and jewelry.                                         Personal jewelry                                                  C                         300.00

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                   Sub-Total >           3,143.00
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re          Rizalino B. Niduaza,                                                                                   Case No.
                 Maria Dolores Niduaza
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                           Husband's 401(k) through work                                     C                     41,000.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                            Accrued unemployment benefits                                     -                           0.00
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                   Sub-Total >          41,000.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
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  In re          Rizalino B. Niduaza,                                                                                   Case No.
                 Maria Dolores Niduaza
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           2001 Toyota Highlander, 75,000 miles. Financed                    C                     12,285.00
    other vehicles and accessories.                              out of lease in 2005. Kelley Blue Book suggested
                                                                 retail value.

                                                                 1998 Nissan Altima GXE, 108,000 miles. Kelley Blue                C                       2,700.00
                                                                 Book private party value. Fair condition.

                                                                 Interest in adult son's 2003 Honda Civic, 76,000                  C                           0.00
                                                                 miles. Debtors co-signed for son to permit
                                                                 financing. All monies toward purchase paid by son
                                                                 who has always had possession. Debtors have
                                                                 never claimed any equity.

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.



                                                                                                                                   Sub-Total >          14,985.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
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 In re         Rizalino B. Niduaza,                                                                       Case No.
               Maria Dolores Niduaza
                                                                                              ,
                                                                                Debtors
                                             SCHEDULE B - PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                               N                                                                 Husband,        Current Value of
              Type of Property                 O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                               N                                                                  Joint, or   without Deducting any
                                               E                                                                Community Secured Claim or Exemption

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind            Membership in timeshare club, WorldMark by                         C                    18,000.00
    not already listed. Itemize.                   Wyndham.




                                                                                                                     Sub-Total >          18,000.00
                                                                                                         (Total of this page)
                                                                                                                          Total >         77,128.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                 (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (12/07)


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   In re          Rizalino B. Niduaza,                                                                                    Case No.
                  Maria Dolores Niduaza
                                                                                                                 ,
                                                                                               Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                          Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                          $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                    Value of            Current Value of
                    Description of Property                                               Each Exemption                        Claimed             Property Without
                                                                                                                               Exemption          Deducting Exemption
Cash on Hand
Cash on hand                                                                     C.C.P. § 703.140(b)(5)                                 20.00                    20.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking and savings, Bank of America,            C.C.P. § 703.140(b)(5)                                                                   3.00                    3.00
Salinas, CA

Checking and savings, Navy Federal Credit                                        C.C.P. § 703.140(b)(5)                                 20.00                    20.00
Union, Monterey, CA

Household Goods and Furnishings
Household furniture, furnishings, and                                            C.C.P. § 703.140(b)(3)                              2,000.00                 2,000.00
appliances

Desktop computer, washing machine, both                                          C.C.P. § 703.140(b)(3)                                    0.00                 300.00
purch. 1+ year agol

Wearing Apparel
Personal clothing                                                                C.C.P. § 703.140(b)(3)                                500.00                   500.00

Furs and Jewelry
Personal jewelry                                                                 C.C.P. § 703.140(b)(4)                                300.00                   300.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Husband's 401(k) through work                       C.C.P. § 703.140(b)(10)(E)                                                          100%                 41,000.00

Other Contingent and Unliquidated Claims of Every Nature
Accrued unemployment benefits                     C.C.P. § 703.140(b)(10)(A)                                                               0.00                    0.00

Automobiles, Trucks, Trailers, and Other Vehicles
2001 Toyota Highlander, 75,000 miles.                                            C.C.P. § 703.140(b)(2)                              3,300.00                12,285.00
Financed out of lease in 2005. Kelley Blue Book                                  C.C.P. § 703.140(b)(5)                              1,533.26
suggested retail value.

1998 Nissan Altima GXE, 108,000 miles. Kelley                                    C.C.P. § 703.140(b)(5)                              2,700.00                 2,700.00
Blue Book private party value. Fair condition.

Interest in adult son's 2003 Honda Civic, 76,000                                 C.C.P. § 703.140(b)(5)                                    0.00                    0.00
miles. Debtors co-signed for son to permit
financing. All monies toward purchase paid by
son who has always had possession. Debtors
have never claimed any equity.

Other Personal Property of Any Kind Not Already Listed
Membership in timeshare club, WorldMark by        C.C.P. § 703.140(b)(5)                                                                   0.00              18,000.00
Wyndham.




                                                                                                                 Total:             51,376.26                77,128.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re          Rizalino B. Niduaza,                                                                                           Case No.
                  Maria Dolores Niduaza
                                                                                                                    ,
                                                                                                     Debtors
                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                            O    N   I
                                                                D   H         DATE CLAIM WAS INCURRED,                       N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                            T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                                 B   W             NATURE OF LIEN, AND                        I    Q   U                       PORTION, IF
                                                                T   J           DESCRIPTION AND VALUE                        N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                            G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                    C                 OF PROPERTY
                                                                R
                                                                                     SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. xxxx-xxxx-xxxx-8300                                         Electronics/appliance purch. loan                         E
                                                                                                                                  D

HSBC/BestBuy                                                            Desktop computer, washing machine,
PO Box 60148                                                            both purch. 1+ year agol
City Of Industry, CA 91716
                                                                    C

                                                                         Value $                                300.00                          2,003.90            1,703.90
Account No.

HSBC/BestBuy                                                             Alternate Mailing Address:
PO Box 15519                                                             HSBC/BestBuy                                                        Notice Only
Wilmington, DE 19850


                                                                         Value $
Account No. xxx xxx xx3 000                                             Property Taxes

Louis Solton, Tax Collector                                             Former residence at 588 Inca Way,
County of Monterey                                                      Salinas, Monterey County, CA 93906.
PO Box 891                                                              TO BE SURRENDERED.
                                                                    C
Salinas, CA 93902

                                                                         Value $                            200,000.00                          4,191.30            4,191.30
Account No. xxxxxx1031                                                  Second trust deed. Non-recourse loan.

Real Time Resolutions                                                   Former residence at 588 Inca Way,
PO Box 35888                                                            Salinas, Monterey County, CA 93906.
Dallas, TX 75235                                                        TO BE SURRENDERED.
                                                                    C

                                                                         Value $                            200,000.00                        110,615.00                  0.00
                                                                                                                          Subtotal
 2
_____ continuation sheets attached                                                                                                            116,810.20            5,895.20
                                                                                                                 (Total of this page)




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   In re          Rizalino B. Niduaza,                                                                                             Case No.
                  Maria Dolores Niduaza
                                                                                                                      ,
                                                                                                     Debtors

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT         UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                          PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                          ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                                                                                         E
                                                                                                                                    D

American Home Mortgage Servicing                                         Alternate Mailing Address:
PO Box 660029                                                            Real Time Resolutions                                                 Notice Only
Dallas, TX 75266


                                                                         Value $
Account No.

Real Time Resolutions                                                    Alternate Mailing Address:
1750 Regal Row                                                           Real Time Resolutions                                                 Notice Only
Dallas, TX 75235


                                                                         Value $
Account No. xxx xxx7716                                                 Vehicle purchase loan

Toyota Financial Svcs                                                   2001 Toyota Highlander, 75,000 miles.
PO Box 60114                                                            Financed out of lease in 2005. Kelley
City of Industry, CA 91716                                              Blue Book suggested retail value.
                                                                    C

                                                                         Value $                               12,285.00                          7,451.74                0.00
Account No.

Toyota Motor Credit                                                      Alternate Mailing Address:
4000 Executive Pkwy #525                                                 Toyota Financial Svcs                                                 Notice Only
San Roman, CA 94583


                                                                         Value $
Account No. xxxxxxx9127                                                 Timeshare purchase loan

Trendwest Resorts, Inc./Worldmark                                       Membership in timeshare club,
9805 Willows Rd.                                                        WorldMark by Wyndham.
Redmond, WA 98052
                                                                    C

                                                                         Value $                               18,000.00                         21,435.49            3,435.49
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                 28,887.23            3,435.49
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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   In re          Rizalino B. Niduaza,                                                                                           Case No.
                  Maria Dolores Niduaza
                                                                                                                    ,
                                                                                                     Debtors

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                            O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                            T    I   P       WITHOUT         UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                             I    Q   U
                                                                                                                                             DEDUCTING
                                                                T   J                                                        N    U   T                          ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                           G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No.                                                                                                                       E
                                                                                                                                  D

Trendwest Resorts, Inc.                                                  Alternate Mailing Address:
335 Cochrane Circle                                                      Trendwest Resorts, Inc./Worldmark                                   Notice Only
Morgan Hill, CA 95037


                                                                         Value $
Account No.

Worldmark, The Club                                                      Alternate Mailing Address:
335 Cochrane Cir.                                                        Trendwest Resorts, Inc./Worldmark                                   Notice Only
Morgan Hill, CA 95037


                                                                         Value $
Account No. xx5011                                                      First Trust Deed. NON-RECOURSE
                                                                        LOAN.
Wilshire Credit Corp
1776 SW Madison St                                                    Former residence at 588 Inca Way,
Portland, OR 97205                                                    Salinas, Monterey County, CA 93906.
                                                                    C TO BE SURRENDERED.

                                                                         Value $                            200,000.00                        493,583.00                0.00
Account No.

TD Service Co                                                            Alternate Mailing Address:
re: Wilshire Credit Corp                                                 Wilshire Credit Corp                                                Notice Only
PO Box 11988
Santa Ana, CA 92711

                                                                         Value $
Account No.




                                                                         Value $
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                                     Subtotal
                                                                                                                                              493,583.00                0.00
Schedule of Creditors Holding Secured Claims                                                                     (Total of this page)
                                                                                                                             Total            639,280.43            9,330.69
                                                                                                   (Report on Summary of Schedules)
                Case: 09-61060                      Doc# 1              Filed: 12/17/09
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B6E (Official Form 6E) (12/07)


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 In re         Rizalino B. Niduaza,                                                                                      Case No.
               Maria Dolores Niduaza
                                                                                                             ,
                                                                                        Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                       0       continuation sheets attached
                Case: 09-61060 Doc# 1 Filed: 12/17/09
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 B6F (Official Form 6F) (12/07)


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   In re          Rizalino B. Niduaza,                                                                                        Case No.
                  Maria Dolores Niduaza
                                                                                                                          ,
                                                                                                        Debtors

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
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                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
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                                                                                 T   J                                                       N   U   T
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                   (See instructions above.)                                     R
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                                                                                                                                             N   A
Account No. xxxxxx xx xxx178 5                                                                                                               T   T
                                                                                                                                                 E
                                                                                                                                                 D

Beneficial
PO Box 60101                                                                         C
City of Industry, CA 91716

                                                                                                                                                                     10,002.00
Account No.

Beneficial/HFC                                                                           Alternate Mailing Address:
PO Box 3425                                                                              Beneficial                                                               Notice Only
Buffalo, NY 14240



Account No. xxxx-xxxx-xxxx-0506

Capital One Bank
PO Box 60599                                                                         C
City Of Industry, CA 91716

                                                                                                                                                                      1,294.17
Account No.

Capital One Bank                                                                         Alternate Mailing Address:
PO Box 85520                                                                             Capital One Bank                                                         Notice Only
Richmond, VA 23285



                                                                                                                                           Subtotal
 10 continuation sheets attached
_____                                                                                                                                                                11,296.17
                                                                                                                                 (Total of this page)




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   In re          Rizalino B. Niduaza,                                                                                        Case No.
                  Maria Dolores Niduaza
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxx-xxxx-xxxx-0310                                                                                                                  E
                                                                                                                                                 D

Capital One Bank
PO Box 60599                                                                         C
City Of Industry, CA 91716

                                                                                                                                                                    481.00
Account No.

Capital One Bank                                                                         Alternate Mailing Address:
PO Box 85520                                                                             Capital One Bank                                                      Notice Only
Richmond, VA 23285



Account No. xxxx-xxxx-xxxx-8353

Capital One Bank
PO Box 60599                                                                         C
City Of Industry, CA 91716

                                                                                                                                                                    698.49
Account No.

Capital One Bank                                                                         Alternate Mailing Address:
PO Box 85520                                                                             Capital One Bank                                                      Notice Only
Richmond, VA 23285



Account No. xxxx-xxxx-xxxx-9710

Chase Bank USA
PO Box 94014                                                                         C
Palatine, IL 60094

                                                                                                                                                                  3,218.91

           1
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  4,398.40
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                Case: 09-61060                      Doc# 1             Filed: 12/17/09
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   In re          Rizalino B. Niduaza,                                                                                        Case No.
                  Maria Dolores Niduaza
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

Chase                                                                                    Alternate Mailing Address:
PO Box 15298                                                                             Chase Bank USA                                                        Notice Only
Wilmington, DE 19850



Account No. xxxx-xxxx-xxxx-1148

Chase Bank USA
PO Box 94014                                                                         C
Palatine, IL 60094

                                                                                                                                                                  3,879.57
Account No.

Chase                                                                                    Alternate Mailing Address:
PO Box 15298                                                                             Chase Bank USA                                                        Notice Only
Wilmington, DE 19850



Account No. xxxx-xxxx-xxxx-1659

Chase Bank USa
PO Box 94012                                                                         C
Palatine, IL 60094

                                                                                                                                                                  1,291.40
Account No.

Chase/Best Buy
PO Box 15298                                                                         C
Wilmington, DE 19850

                                                                                                                                                                  1,226.00

           2
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  6,396.97
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                Case: 09-61060                      Doc# 1             Filed: 12/17/09
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   In re          Rizalino B. Niduaza,                                                                                        Case No.
                  Maria Dolores Niduaza
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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Account No. xxxxxxxx xxx8897                                                                                                                     E
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CitiFinancial
PO Box 6931                                                                          C
The Lakes, NV 88901

                                                                                                                                                                  4,043.00
Account No.

CitiFinancial                                                                            Alternate Mailing Address:
PO Box 499                                                                               CitiFinancial                                                         Notice Only
Hanover, MD 21076



Account No. xxxxxx1 201

Del Pueblo Jewelers
1392 Northridge Mall                                                                 C
Salinas, CA 93906

                                                                                                                                                                    806.31
Account No. xxxx-xxxx-xxxx-3375

FIA Card Services/Monterey Cr Un
PO Box 851001                                                                        C
Dallas, TX 75285

                                                                                                                                                                  2,363.14
Account No.

FIA CSNA                                                                                 Alternate Mailing Address:
PO Box 17054                                                                             FIA Card Services/Monterey Cr Un                                      Notice Only
Wilmington, DE 19884



           3
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  7,212.45
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                Case: 09-61060                      Doc# 1             Filed: 12/17/09
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   In re          Rizalino B. Niduaza,                                                                                        Case No.
                  Maria Dolores Niduaza
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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Account No.                                                                                                                                      E
                                                                                                                                                 D

HSBC Bank
PO Box 5253                                                                          C
Carol Stream, IL 60197

                                                                                                                                                                    400.00
Account No.                                                                              May be duplicate

HSBC Bank
PO Box 5253                                                                          C
Carol Stream, IL 60197

                                                                                                                                                                    183.00
Account No. xxxx-xxxx-xxxx-9950

HSBC Card Services
PO Box 60102                                                                         C
City Of Industry, CA 91716

                                                                                                                                                                  1,002.91
Account No.

HSBC Bank                                                                                Alternate Mailing Address:
PO Box 5253                                                                              HSBC Card Services                                                    Notice Only
Carol Stream, IL 60197



Account No. xxxx-xxxx-xxxx-1036

HSBC Card Services
PO Box 60102                                                                         C
City Of Industry, CA 91716-0102

                                                                                                                                                                    510.76

           4
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  2,096.67
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                Case: 09-61060                      Doc# 1             Filed: 12/17/09
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   In re          Rizalino B. Niduaza,                                                                                        Case No.
                  Maria Dolores Niduaza
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
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Account No. xxxx-xxxx-xxxx-8300                                                                                                                  E
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HSBC Retail Services/Best Buy
PO Box 60148                                                                         C
City Of Industry, CA 91716-0148

                                                                                                                                                                  2,188.57
Account No. xxxx-xxxx-xxxx-2119

HSBC Reward Zone MasterCard
PO B oxc 60102                                                                       C
City of Industry, CA 91716

                                                                                                                                                                    217.44
Account No. xxxx-xxxx-xxxx-3605

HSBC/BestBuy
PO Box 60148                                                                         C
City Of Industry, CA 91716

                                                                                                                                                                    487.29
Account No.

HSBC/BestBuy                                                                             Alternate Mailing Address:
PO Box 15519                                                                             HSBC/BestBuy                                                          Notice Only
Wilmington, DE 19850



Account No. xxxx-xxxx-xxxx-3111

HSBC/Reward Zone Program
Mastercard                                                                           C
PO Box 60102
City Of Industry, CA 91716
                                                                                                                                                                    233.11

           5
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  3,126.41
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                Case: 09-61060                      Doc# 1             Filed: 12/17/09
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   In re          Rizalino B. Niduaza,                                                                                        Case No.
                  Maria Dolores Niduaza
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
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Account No. xx xxx xxx x72-20                                                                                                                    E
                                                                                                                                                 D

Macys
PO Box 6938                                                                          C
The Lakes, NV 88901

                                                                                                                                                                    252.52
Account No.

Macys/DSNB                                                                               Alternate Mailing Address:
9111 Duke Blvd                                                                           Macys                                                                 Notice Only
Mason, OH 45040



Account No. xxxx-xxx3-262

Mervyns/GE Money Bank
PO Box 981400                                                                        C
El Paso, TX 79998

                                                                                                                                                                    655.45
Account No.

GE Money Bank                                                                            Alternate Mailing Address:
PO Box 960013                                                                            Mervyns/GE Money Bank                                                 Notice Only
Orlando, FL 32896-0013



Account No. ****0496

Navy Federal Credit Union
PO Box 3500                                                                          C
Merrifield, VA 22119

                                                                                                                                                                  5,114.70

           6
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  6,022.67
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                Case: 09-61060                      Doc# 1             Filed: 12/17/09
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   In re          Rizalino B. Niduaza,                                                                                        Case No.
                  Maria Dolores Niduaza
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

Navy Federal Credit Union                                                                Alternate Mailing Address:
820 Follin Lane SE                                                                       Navy Federal Credit Union                                             Notice Only
Vienna, VA 22180



Account No. xxxx-xxxx-xxxx-5571

Office Depot Credit Card
Processing Center                                                                    C
Des Moines, IA 50364

                                                                                                                                                                  1,024.16
Account No.

Office Depot/CSBD                                                                        Alternate Mailing Address:
PO Box 6497                                                                              Office Depot Credit Card                                              Notice Only
Sioux Falls, SD 57117



Account No.

Salinas Valley Memorial Hospital
PO Box 6148                                                                          C
Salinas, CA 93912

                                                                                                                                                                  1,160.39
Account No. xxxxxxxxxxxxxxxxxxxx0908                                                     Nondischargable education loan

Sallie Mae Servicing
1002 Arthur Dr                                                                       H
Lynn Haven, FL 32444

                                                                                                                                                                 14,414.00

           7
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                 16,598.55
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                Case: 09-61060                      Doc# 1             Filed: 12/17/09
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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Rizalino B. Niduaza,                                                                                        Case No.
                  Maria Dolores Niduaza
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
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Account No. xxxx-xxxx-xxxx-9325                                                                                                                  E
                                                                                                                                                 D

Sears Credit Card
PO Box 688956                                                                        C
Des Moines, IA 50368

                                                                                                                                                                    677.84
Account No.

Sears/CBSD                                                                               Alternate Mailing Address:
PO Box 6189                                                                              Sears Credit Card                                                     Notice Only
Sioux Falls, SD 57117



Account No. xxxx-xxxx-xxxx-4430

Sears MasterCard
PO Box 688957                                                                        C
Des Moines, IA 50368

                                                                                                                                                                    814.14
Account No.

Sears/CBSD                                                                               Alternate Mailing Address:
PO Box 6189                                                                              Sears MasterCard                                                      Notice Only
Sioux Falls, SD 57117



Account No. ****6358

Target/Retailers Na Bank
PO Box 59317                                                                         C
Minneapolis, MN 55459

                                                                                                                                                                    441.09

           8
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  1,933.07
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Rizalino B. Niduaza,                                                                                        Case No.
                  Maria Dolores Niduaza
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                             (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
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Account No.                                                                                                                                      E
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TNB/Target                                                                               Alternate Mailing Address:
PO Box 673                                                                               Target/Retailers Na Bank                                              Notice Only
Minneapolis, MN 55440



Account No. ****9757                                                                     `

Target/Retailers Na Bank
PO Box 59317                                                                         C
Minneapolis, MN 55459

                                                                                                                                                                    554.85
Account No.

Target/NB                                                                                Alternate Mailing Address:
PO Box 673                                                                               Target/Retailers Na Bank                                              Notice Only
Minneapolis, MN 55440



Account No. ****7587

Target/Retailers Na Bank
PO Box 59317                                                                         C
Minneapolis, MN 55459

                                                                                                                                                                    590.86
Account No.

TNB/Target                                                                               Alternate Mailing Address:
PO Box 673                                                                               Target/Retailers Na Bank                                              Notice Only
Minneapolis, MN 55440



           9
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  1,145.71
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                Case: 09-61060                      Doc# 1             Filed: 12/17/09
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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Rizalino B. Niduaza,                                                                                              Case No.
                  Maria Dolores Niduaza
                                                                                                                           ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
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Account No. xxxx6899                                                                                                                                    E
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Wells Fargo Financial
1213 N Davis Rd                                                                      C
Salinas, CA 93907

                                                                                                                                                                            69.55
Account No. xxxx-xxxx-xxxx-0900

Wells Fargo Financial VISA
PO Box 98791                                                                         C
Las Vegas, NV 89193

                                                                                                                                                                         3,129.98
Account No.

Wells Fargo Finance                                                                      Alternate Mailing Address:
3201 N 4th Ave                                                                           Wells Fargo Financial VISA                                                   Notice Only
Sioux Falls, SD 57104



Account No.




Account No.




           10 of _____
Sheet no. _____    10 sheets attached to Schedule of                                                                                              Subtotal
                                                                                                                                                                         3,199.53
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)              63,426.60


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                                                                                                           Entered: 12/17/09 13:39:22                Page 30 of  57
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B6G (Official Form 6G) (12/07)


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  In re             Rizalino B. Niduaza,                                                                           Case No.
                    Maria Dolores Niduaza
                                                                                                        ,
                                                                                        Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                         Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                              State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                    State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
                  Case: 09-61060                   Doc# 1             Filed: 12/17/09
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  In re          Rizalino B. Niduaza,                                                                     Case No.
                 Maria Dolores Niduaza
                                                                                                   ,
                                                                                        Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
               Case: 09-61060                      Doc# 1             Filed: 12/17/09
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                                                                                                                                   Best Case Bankruptcy
B6I (Official Form 6I) (12/07)

          Rizalino B. Niduaza
 In re    Maria Dolores Niduaza                                                                         Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Daughter                                                    18
                                             Son                                                         19
                                             Son                                                         25
Employment:                                           DEBTOR                                                    SPOUSE
Occupation                          Accounting assistant                                     CNA
Name of Employer                    The VPS Companies                                        Pacific Coast Care Center
How long employed                   Since 2001                                               Since 2005
Address of Employer                 310 Walker St                                            680 South Fourth St
                                    Watsonville, CA 95076                                    Louisville, KY 40202
INCOME: (Estimate of average or projected monthly income at time case filed)                                 DEBTOR                       SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                           $      4,693.46           $         2,569.10
2. Estimate monthly overtime                                                                            $          0.00           $             0.00

3. SUBTOTAL                                                                                              $         4,693.46       $         2,569.10


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             769.54     $          418.62
     b. Insurance                                                                                        $             665.60     $           25.52
     c. Union dues                                                                                       $               0.00     $           45.48
     d. Other (Specify)        See Detailed Income Attachment                                            $             706.16     $            5.42

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         2,141.30       $          495.04

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         2,552.16       $         2,074.06

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $             0.00
8. Income from real property                                                                             $               0.00     $             0.00
9. Interest and dividends                                                                                $               0.00     $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $             0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00
12. Pension or retirement income                                                                         $               0.00     $             0.00
13. Other monthly income
(Specify):           Contributions from adult sons                                                       $             400.00     $             0.00
                                                                                                         $               0.00     $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             400.00     $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         2,952.16       $         2,074.06

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            5,026.22
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Debtors' income reflect the averave of their four paychecks through 12/4 (H) and 11/30/09 (W).




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B6I (Official Form 6I) (12/07)

          Rizalino B. Niduaza
 In re    Maria Dolores Niduaza                                                  Case No.
                                                            Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                          Detailed Income Attachment
Other Payroll Deductions:
Repayment of pay advance                                                        $           646.16   $         0.00
401(k) contribution                                                             $            60.00   $         0.00
Charity                                                                         $             0.00   $         5.42
Total Other Payroll Deductions                                                  $           706.16   $         5.42




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B6J (Official Form 6J) (12/07)

          Rizalino B. Niduaza
 In re    Maria Dolores Niduaza                                                               Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 2,200.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   300.00
                   b. Water and sewer                                                                       $                    68.00
                   c. Telephone                                                                             $                    25.00
                   d. Other See Detailed Expense Attachment                                                 $                   441.34
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   500.00
5. Clothing                                                                                                 $                    80.00
6. Laundry and dry cleaning                                                                                 $                     0.00
7. Medical and dental expenses                                                                              $                    69.00
8. Transportation (not including car payments)                                                              $                   300.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    80.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   274.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other Payment on timeshare                                                            $                   340.59
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                    88.01

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 4,765.94
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 5,026.22
b. Average monthly expenses from Line 18 above                                                              $                 4,765.94
c. Monthly net income (a. minus b.)                                                                         $                   260.28




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B6J (Official Form 6J) (12/07)
          Rizalino B. Niduaza
 In re    Maria Dolores Niduaza                                                  Case No.
                                                            Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                             Detailed Expense Attachment
Other Utility Expenditures:
Cable/landline                                                                              $               118.00
Cell phones                                                                                 $               250.00
Internet access                                                                             $                55.00
Trash pickup                                                                                $                18.34
Total Other Utility Expenditures                                                            $               441.34




Other Expenditures:
Vehicle maint./repairs, ave.                                                                $                25.00
DMV tags, ave.                                                                              $                31.67
Timeshare maintenance                                                                       $                31.34
Total Other Expenditures                                                                    $                88.01




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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                  United States Bankruptcy Court
                                                                         Northern District of California
             Rizalino B. Niduaza
 In re       Maria Dolores Niduaza                                                                                     Case No.
                                                                                             Debtor(s)                 Chapter    13




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                  29
             sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date December 17, 2009                                                         Signature    /s/ Rizalino B. Niduaza
                                                                                             Rizalino B. Niduaza
                                                                                             Debtor


 Date December 17, 2009                                                         Signature    /s/ Maria Dolores Niduaza
                                                                                             Maria Dolores Niduaza
                                                                                             Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                         Northern District of California
             Rizalino B. Niduaza
 In re       Maria Dolores Niduaza                                                                              Case No.
                                                                                             Debtor(s)          Chapter       13


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $54,186.50                               Husband's income for 2009 through November
                           $51,427.00                               Husband's income for 2008
                           $49,438.00                               Husband's income for 2007
                           $33,852.99                               Wife's income for 2009 through November
                           $34,783.00                               Wife's income for 2008
                           $32,468.00                               Wife's income for 2007




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               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $391.00                                  Husband's pension distribution for 2007

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                           AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                     AMOUNT PAID             OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                     AMOUNT
                                                                                   DATES OF                           PAID OR
                                                                                   PAYMENTS/                        VALUE OF          AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                       TRANSFERS            OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                     AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT              AMOUNT PAID             OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY         STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION            DISPOSITION

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY




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               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                          DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                        FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                       TRANSFER OR RETURN                     PROPERTY
 Wilshire Credit Corp                                                   9/9/09                          NOD recorded on residence at 588 Inca Way,
 1776 SW Madison St                                                                                     Salinas, Monterey County, CA 93906
 Portland, OR 97205

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS




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               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                             OF PROPERTY
 Law Offices Of Clark A. Miller                                                   10-11/09                             Attorney retainer of $500 plus
 217 West Alisal Street                                                                                                $274 court filing fee plus $30
 Salinas, CA 93901                                                                                                     for credit reports.

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                      DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                         AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                               AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF            VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)           IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                    DIGITS OF ACCOUNT NUMBER,           AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                     OR CLOSING
 Chase Bank                                                                       Checking;$nil                         $nil;11/09
 Salinas, CA 93906

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                     DESCRIPTION              DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                     OF CONTENTS               SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




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 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                          AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                    DESCRIPTION AND VALUE OF PROPERTY                   LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                               DATES OF OCCUPANCY
 1124 Cobblestone St, Salinas, CA                                                 Rizalono & Maria Niduaza                4/09 to present
 588 Inca Way Salinas, CA                                                         Rizalino & Maria Niduaza                4/05-4/09

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                            DATE OF            ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                              NOTICE             LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                            DATE OF            ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                              NOTICE             LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                           STATUS OR DISPOSITION



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               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                     NATURE OF BUSINESS          ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                           DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                              DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                           ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                     DATE ISSUED




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               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                        TAXPAYER IDENTIFICATION NUMBER (EIN)


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                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date December 17, 2009                                                         Signature    /s/ Rizalino B. Niduaza
                                                                                             Rizalino B. Niduaza
                                                                                             Debtor


 Date December 17, 2009                                                         Signature    /s/ Maria Dolores Niduaza
                                                                                             Maria Dolores Niduaza
                                                                                             Joint Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                 United States Bankruptcy Court
                                                                        Northern District of California
             Rizalino B. Niduaza
 In re       Maria Dolores Niduaza                                                                               Case No.
                                                                                       Debtor(s)                 Chapter    13


                                                     STATEMENT PURSUANT TO RULE 2016(B)
The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:

1.           The undersigned is the attorney for the debtor(s) in this case.

2.           The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
              a)      For legal services rendered or to be rendered in contemplation of and in
                      connection with this case                                                                             $                  4,900.00
              b)      Prior to the filing of this statement, debtor(s) have paid                                            $                    500.00
              c)      The unpaid balance due and payable is                                                                 $                  4,400.00

3.           $ 274.00            of the filing fee in this case has been paid. Debtors have paid $30.00 for credit reports.

4.           The Services rendered or to be rendered include the following:
             a.     Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining
                    whether to file a petition under title 11 of the United States Code.
             b.     Preparation and filing of the petition, schedules, statement of affairs and other documents required by the
                    court.
             c.     Representation of the debtor(s) at the meeting of creditors.

5.           The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation
             for services performed, and

6.           The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any,
             will be from earnings, wages and compensation for services performed, and

7.           The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following
             for the value stated:

8.           The undersigned has not shared or agreed to share with any other entity, other than with members of
             undersigned's law firm, any compensation paid or to be paid except as follows:

 Dated: December 14, 2009                                                              Respectfully submitted,

                                                                                       /s/ Clark A. Miller
                                                                                       Attorney for Debtor: Clark A. Miller 51151
                                                                                       Law Offices Of Clark A. Miller
                                                                                       217 West Alisal Street
                                                                                       Salinas, CA 93901
                                                                                       1-831-424-1764 Fax: 1-831-424-2144
                                                                                       sherri@clarkmiller.com




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B 201A (Form 201A) (12/09)

WARNING: Effective december 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                        UNITED STATES BANKRUPTCY COURT
                                                        NORTHERN DISTRICT OF CALIFORNIA
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                          Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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B 201B (Form 201B) (12/09)
                                                                 United States Bankruptcy Court
                                                                        Northern District of California
             Rizalino B. Niduaza
 In re       Maria Dolores Niduaza                                                                                Case No.
                                                                                        Debtor(s)                 Chapter        13


                                      CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                          UNDER § 342(b) OF THE BANKRUPTCY CODE
                                            Certification of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the debtor this
attached notice, as required by § 342(b) of the Bankruptcy Code.


 Printed name and title, if any, of Bankruptcy Petition                                                      Social Security number (If the bankruptcy
 Preparer                                                                                                    petition preparer is not an individual, state
 Address:                                                                                                    the Social Security number of the officer,
                                                                                                             principal, responsible person, or partner of
                                                                                                             the bankruptcy petition preparer.) (Required
                                                                                                             by 11 U.S.C. § 110.)

 X
 Signature of Bankruptcy Petition Preparer or officer,
 principal, responsible person, or partner whose
 Social Security number is provided above.


                                                                              Certification of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Rizalino B. Niduaza
 Maria Dolores Niduaza                                                                    X /s/ Rizalino B. Niduaza                   December 17, 2009
 Printed Name(s) of Debtor(s)                                                               Signature of Debtor                       Date

 Case No. (if known)                                                                      X /s/ Maria Dolores Niduaza                 December 17, 2009
                                                                                            Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                                  United States Bankruptcy Court
                                                                         Northern District of California
             Rizalino B. Niduaza
 In re       Maria Dolores Niduaza                                                                               Case No.
                                                                                             Debtor(s)           Chapter    13




                                                             CREDITOR MATRIX COVER SHEET



         I declare that the attached Creditor Mailing Matrix, consisting of 7 sheets, contains the correct, complete and current
names and addresses of all priority, secured and unsecured creditors listed in debtor's filing and that this matrix conforms with the
Clerk's promulgated requirements.




 Date:      December 17, 2009                                                   /s/ Clark A. Miller
                                                                                Signature of Attorney
                                                                                Clark A. Miller 51151
                                                                                Law Offices Of Clark A. Miller
                                                                                217 West Alisal Street
                                                                                Salinas, CA 93901
                                                                                1-831-424-1764 Fax: 1-831-424-2144




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     American Home Mortgage Servicing
     PO Box 660029
     Dallas, TX 75266



     Beneficial
     PO Box 60101
     City of Industry, CA 91716



     Beneficial/HFC
     PO Box 3425
     Buffalo, NY 14240



     Capital One Bank
     PO Box 60599
     City Of Industry, CA 91716



     Capital One Bank
     PO Box 85520
     Richmond, VA 23285



     Chase
     PO Box 15298
     Wilmington, DE 19850



     Chase Bank USA
     PO Box 94014
     Palatine, IL 60094



     Chase Bank USa
     PO Box 94012
     Palatine, IL 60094




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 Chase/Best Buy
 PO Box 15298
 Wilmington, DE 19850



 CitiFinancial
 PO Box 6931
 The Lakes, NV 88901



 CitiFinancial
 PO Box 499
 Hanover, MD 21076



 Del Pueblo Jewelers
 1392 Northridge Mall
 Salinas, CA 93906



 FIA Card Services/Monterey Cr Un
 PO Box 851001
 Dallas, TX 75285



 FIA CSNA
 PO Box 17054
 Wilmington, DE 19884



 GE Money Bank
 PO Box 960013
 Orlando, FL 32896-0013



 HSBC Bank
 PO Box 5253
 Carol Stream, IL 60197




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 HSBC Card Services
 PO Box 60102
 City Of Industry, CA 91716



 HSBC Card Services
 PO Box 60102
 City Of Industry, CA 91716-0102



 HSBC Retail Services/Best Buy
 PO Box 60148
 City Of Industry, CA 91716-0148



 HSBC Reward Zone MasterCard
 PO B oxc 60102
 City of Industry, CA 91716



 HSBC/BestBuy
 PO Box 60148
 City Of Industry, CA 91716



 HSBC/BestBuy
 PO Box 15519
 Wilmington, DE 19850



 HSBC/Reward Zone Program Mastercard
 PO Box 60102
 City Of Industry, CA 91716



 Louis Solton, Tax Collector
 County of Monterey
 PO Box 891
 Salinas, CA 93902




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 Macys
 PO Box 6938
 The Lakes, NV 88901



 Macys/DSNB
 9111 Duke Blvd
 Mason, OH 45040



 Mervyns/GE Money Bank
 PO Box 981400
 El Paso, TX 79998



 Navy Federal Credit Union
 PO Box 3500
 Merrifield, VA 22119



 Navy Federal Credit Union
 820 Follin Lane SE
 Vienna, VA 22180



 Office Depot Credit Card
 Processing Center
 Des Moines, IA 50364



 Office Depot/CSBD
 PO Box 6497
 Sioux Falls, SD 57117



 Real Time Resolutions
 PO Box 35888
 Dallas, TX 75235




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 Real Time Resolutions
 1750 Regal Row
 Dallas, TX 75235



 Salinas Valley Memorial Hospital
 PO Box 6148
 Salinas, CA 93912



 Sallie Mae Servicing
 1002 Arthur Dr
 Lynn Haven, FL 32444



 Sears Credit Card
 PO Box 688956
 Des Moines, IA 50368



 Sears MasterCard
 PO Box 688957
 Des Moines, IA 50368



 Sears/CBSD
 PO Box 6189
 Sioux Falls, SD 57117



 Target/NB
 PO Box 673
 Minneapolis, MN 55440



 Target/Retailers Na Bank
 PO Box 59317
 Minneapolis, MN 55459




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 TD Service Co
 re: Wilshire Credit Corp
 PO Box 11988
 Santa Ana, CA 92711



 TNB/Target
 PO Box 673
 Minneapolis, MN 55440



 Toyota Financial Svcs
 PO Box 60114
 City of Industry, CA 91716



 Toyota Motor Credit
 4000 Executive Pkwy #525
 San Roman, CA 94583



 Trendwest Resorts, Inc.
 335 Cochrane Circle
 Morgan Hill, CA 95037



 Trendwest Resorts, Inc./Worldmark
 9805 Willows Rd.
 Redmond, WA 98052



 Wells Fargo Finance
 3201 N 4th Ave
 Sioux Falls, SD 57104



 Wells Fargo Financial
 1213 N Davis Rd
 Salinas, CA 93907




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 Wells Fargo Financial VISA
 PO Box 98791
 Las Vegas, NV 89193



 Wilshire Credit Corp
 1776 SW Madison St
 Portland, OR 97205



 Worldmark, The Club
 335 Cochrane Cir.
 Morgan Hill, CA 95037




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